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     In The United States Court of Federal Claims
                                  Nos. 12-863C and 12-883C

                          (Filed: February 1, 2013)
                                 __________
  INSIGHT SYSTEMS CORP., and
  CENTERSCOPE TECHNOLOGIES, INC.,

                                Plaintiffs,

                         v.

  THE UNITED STATES,

                                Defendant.
                                          __________

                                               ORDER
                                              __________

       On January 17, 2013, the court entered a scheduling order in this matter. The court
hereby amends that order and adopts the following schedule:

       (1)     On or before February 8, 2013, defendant shall file its cross-motions for
               judgment on the administrative record and responses to plaintiffs’
               motions;1

       (2)     On or before February 19, 2013, plaintiffs shall file replies to their
               motions and responses to defendant’s cross-motions;

       (3)     On or before March 1, 2013, defendant shall file its replies in support of
               its cross-motions; and

       (4)     Oral argument on these motions will be scheduled by future order.

       IT IS SO ORDERED.

                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge


       1
        For all filings reflected on this scheduling order, defendant may file consolidated
documents.
